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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 MANETIRONY CLERVRAIN, et al.,                         )
                                                       )
                                Plaintiffs,            )
                                                       )
                        v.                             )       No. 1:21-cv-02918-TWP-DLP
                                                       )       No. 1:21-mc-95-TWP
                                                       )
 JAMIE DIMON, et al.,                                  )
                                                       )
                                Defendants.            )


         ORDER STRIKING DOCUMENTS AND DIRECTING CLERK TO OPEN
                          MISCELLANEOUS CASE

        Manetirony Clervrain (“Plaintiff”) is a restricted filer in in this Court due to his vexatious

 and excessive litigation. 1 Specifically, on June 30, 2021, Judge Jane Magnus-Stinson banned

 Plaintiff from filing new papers in this Court, with the exception of papers in criminal cases, habeas

 corpus actions, and a notice of appeal in the case that generated the filing ban. See Clervrain v.

 Lawson, No. 1:20-cv-01306-JMS-DML (S.D. Ind. June 30, 2021). The Court ordered that any

 papers were to be returned to Plaintiff unfiled. Plaintiff then filed a notice of appeal. Judge

 Magnus-Stinson denied Plaintiff's motion to proceed on appeal in forma pauperis, and the Seventh

 Circuit followed suit, stating "[t]he appellant has not made a potentially meritorious argument that

 the district court erred in denying his postjudgment motions or in ordering the clerk to return his

 papers unfiled." Order, No. 21-2258 (7th Cir. Dec. 13, 2021).

        Plaintiff now seeks to litigate a new action in this Court which falls squarely within the

 filing restriction. Therefore, Plaintiff's Complaint and motion to proceed in forma pauperis (Filing


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   A PACER search reveals that in the last four years, Plaintiff has filed 216 federal cases,
 including cases in all thirteen Courts of Appeals and countless District Courts.
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 Nos. 1 and 2) were improvidently docketed. Accordingly, the Clerk is directed to STRIKE from

 the docket and return unfiled Plaintiff’s documents. The Clerk shall mark as VOID any file stamps

 applied during the filing process. The Court's Notice of Deficiency and Order Directing Further

 Action (Filing No. 4) is VACATED. All future submission in this case and others shall be handled

 as this order directs.

         To reduce the burden Plaintiff's filings place on Court operations, the Clerk is directed as

 follows:

     1. The Clerk shall open a miscellaneous case with the general title “In re Manetriony
        Clervrain.” A copy of this Order shall be docketed in the miscellaneous case.

     2. When Mr. Clervrain, whether using that name or some other name, proffers a new
        document for filing, he must include a separate motion seeking leave to file the document
        notwithstanding this Order. The Clerk or his designated deputy shall accept the papers,
        stamp them "received" (rather than "filed") and docket them as a "submission" in the
        miscellaneous case.

     3. The Court will examine any documents tendered by Mr. Clervrain and determine whether
        they should be filed.

     4. If the Court enters an order granting leave to file the materials, the Clerk shall cause the
        materials to be processed in accord with the order which is issued.

     5. Mr. Clervrain may seek modification or rescission of this Order after two years from the
        date of the Order.

     6. This Order may be modified as the requirements of equity may demand.

         Nothing in this Order shall be construed to restrict in any way the powers of a Judge under

 the Local Rules or the Federal Rules of Civil Procedure, or a Judge's inherent power to manage

 litigation before him or her.

         SO ORDERED.




  Date: 12/27/2021
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